

By the Court.

The intention of the parties to this submission was, to effect a final adjustment of the concerns of a trading company, in which they had been connected, and *of which, it should seem, the plaintiff had been the agent. One of the company, George Cox, was dead, and, it appears, a considerable sum of money was due to his estate from the company. John Cox, naming himself administrator of the deceased, became a party to the submission ; and the arbitrators awarded him a sum of money in his capacity of administrator. In this they did not exceed their powers. But, if they had in that particular, the defendant could not avail himself of it. The bond is the several deed of each obligor. The signature, also, of John Cox must be taken with reference to the description of him in the bond.

Replication adjudged good.

